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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------------- X
THE NEW YORK TIMES COMPANY,                             :
                                                        :   No. 1:23-cv-11195-SHS-OTW
                       Plaintiff,                       :
                                                        :
                          v.                            :
                                                            FILED UNDER SEAL
                                                        :
MICROSOFT CORPORATION, OPENAI,                          :
INC., OPENAI LP, OPENAI GP, LLC,                        :
OPENAI, LLC, OPENAI OPCO LLC,                           :
OPENAI GLOBAL LLC, OAI                                  :
CORPORATION, LLC, and OPENAI                            :
HOLDINGS, LLC,                                          :
                                                        :
                       Defendants.
                                                        :
                                                        :
------------------------------------------------------- X
DAILY NEWS, LP; CHICAGO TRIBUNE                         :
COMPANY, LLC; ORLANDO SENTINEL :                            No. 1:24-cv-03285-SHS-OTW
COMMUNICATIONS COMPANY, LLC;                            :
SUN-SENTINEL COMPANY, LLC; SAN                          :
JOSE MERCURY-NEWS, LLC; DP MEDIA :
NETWORK, LLC; ORB PUBLISHING,                           :
LLC; AND NORTHWEST                                      :
PUBLICATIONS, LLC,                                      :
                                                        :
                        Plaintiffs,                     :
                                                        :
                          v.
                                                        :
MICROSOFT CORPORATION, OPENAI,                          :
INC., OPENAI LP, OPENAI GP, LLC,                        :
OPENAI, LLC, OPENAI OPCO LLC,                           :
OPENAI GLOBAL LLC, OAI                                  :
CORPORATION, LLC, OPENAI                                :
HOLDINGS, LLC,                                          :
                                                        :
                        Defendants.                     :
                                                        :
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THE CENTER FOR INVESTIGATIVE                            :   No. 1:24-cv-04872-SHS-OTW
REPORTING, INC.,                                        :
                                                        :
                      Plaintiff,                        :
                                                        :    FILED UNDER SEAL
                          v.                            :
                                                        :
OPENAI, INC., OPENAI GP, LLC,                           :
OPENAI, LLC, OPENAI OPCO LLC,                           :
OPENAI GLOBAL LLC, OAI                                  :
CORPORATION, LLC, OPENAI                                :
HOLDINGS, LLC, and MICROSOFT                            :
CORPORATION,                                            :
                                                        :
                       Defendants.
                                                        :
                                                        :
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    DECLARATION OF ASHLEY PANTULIANO IN SUPPORT OF DEFENDANTS’
              OPPOSITION TO PLAINTIFF’S LETTER BRIEF




                                                       2
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I, Ashley Pantuliano, hereby declare as follows:

         1.      I am a Deputy General Counsel at OpenAI OpCo, LLC. I have been employed by

OpenAI OpCo, LLC since November 2022. I make these statements based on personal

knowledge, and if called upon to testify as to the facts stated in this declaration, I would and

could testify thereto.

         2.      The OpenAI-Microsoft Data Working Group was formed




                                                                         (See Ex. A, which I

understand a version of which was also filed as Ex. 1 to the motion filed by the Authors Guild

plaintiffs regarding the Data Working Group.)

         3.      I have been a member of the Data Working Group since its inception and remain

a member as of this writing.

         4.      The purpose of the Data Working Group is to



                  (See id.)

      5. The first meeting of the Data Working Group was held on February 9, 2023.

              a. At that time, and continuing to today, OpenAI understood that it had a common

                 interest with Microsoft relating to




1
    In this declaration, I refer to OpenAI, Inc. and OpenAI OpCO, LLC collectively as “OpenAI.”

                                                   3
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                                          .

            b. Also at the time, OpenAI and Microsoft had been sued in a putative class action

               lawsuit filed on November 3, 2022 asserting violations of the Digital Millennium

               Copyright Act, 17 U.S.C. §§ 1201-1205, and other claims relating to data

               acquisition practices. (See Doe 1 et al. v. Github, Inc. et al., Case No. 4:22-cv-

               06823-JST (N.D. Cal. filed Nov. 3, 2022), ECF No. 1, attached hereto as Ex. B.)

               The lawsuit was later consolidated with Doe 3 et al. v. Github, Inc. et al., Case

               No. 4:22-cv-07074-JST (N.D. Cal. filed Nov. 10, 2022). The consolidated

               lawsuit remains pending.

       6.      All of the OpenAI employees that have served or currently serve as members of

the Data Working Group are attorneys and members of the OpenAI legal team, and have acted at

all times in a legal capacity while part of the Data Working Group. Tom Rubin, an OpenAI

lawyer who is and has always been a member of the OpenAI legal team, is a member of the Data

Working Group, and has acted at all times in a legal capacity while part of the Data Working

Group. None of the current or requested custodians in either the Authors Guild or New York

Times cases have ever been a member of the Data Working Group. 2


2
 Collectively, I understand the current custodians or requested custodians in the two actions are:
Nick Ryder, Alex Paino, Chris Koch, Ian Sohl, Barret Zoph, John Schulman, Dario Amodei, Ben
Mann, Tom Brown, Alec Radford, Chris Hallacy, Henrique Ponde de Oliveira Pinto, Lilian
Weng, Vinnie Monaco, Johannes Heidecke, Lama Ahmad, Peter Welinder, Nick Turley, Angela

                                                 4
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